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    ROBERT EMERT
    Respondent, In Pro Per                                              FILED
    2351 VISTA LAGO TERRACE
    ESCONDIDO, CA 92029                                                 Apr 07 2025
    TELEPHONE: 760-612-9328                                        CLERK, U.S. DISTRICT COURT
                                                                SOUTHERN DISTRICT OF CALIFORNIA
    robemert@ msn.com                                           BY                         DEPUTY
                                                                          s/ gloriavocal




                                  UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF CALIFORNIA


                                                    '25CV0820 DMS BLM

                                                    NOTICE OF LODGED EXHIBITS ON USB
                                                    FLASH DRIVE

     Robert Emert                                   LODGED DOCUMENTS; WRIT OF
                                                    HABEAS CORPUS UNDER 28 U.S.C.
                    Plaintiff,                      2241 AND 2254; Civil Local Rule 5.1;
           V.                                       Rule 5 of the Rules Governing Section
                                                    2254 Cases
     San Diego Probation Department
                                                    Hearing Date:      TBD
                    Defendant.                      Time:              TBD
                                                    Department:        TBD
                                                    Judge: TBD
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    NOTICE OF LODGED EXHIBITS ON USB FLASH DRIVE

    SUBMITTED IN SUPPORT OF PETITION FOR WRIT OF HABEAS CORPUS

    Pursuant to Civil Local Rule 5.1 and this Court's procedures for pro se litigants who do not have
    access to e lectronic filing, Petitioner Robert Emert hereby gives notice of lodging supporting
    exhibits on a USB flash drive in support of his Petiti on for Writ of Habeas Corpus filed purs uant
    to 28 U.S.C. § 2254.

    AUTHORITY FOR PHYSICAL MEDIA SUBMISSION

    The submission of exhibits on physical media is appropriate in this case because:

        I. Civil Local Rule 5.1 permits prose litigants to file paper documents w ith the C lerk of
           Court;
        2. The size and volume of the exhibits make paper filing impractical, as they would exceed
           several hundred pages;
        3. Petitioner does not have access to the Court's electronic filing system as a prose litigant;
        4. The USB flash drive format a llows the Court to efficiently rev iew the extensive
           documentary ev idence supporting Petitioner's claims .

    .JUDICIAL PRECEDENT SUPPORTING COMPREHENSIVE EXHIBITS

    Courts have cons is tently recognized the need for habeas petitioners to submit complete
    supporting documentation:

        I. In C ullen v. Pinholster, 563 U.S. 170, at 185 n.5 (20 I I), the Court stated that "both the
           District Court and the Court of Appeals had the obligation to ensure that the state-court
           record was properly before them ;"
        2. In Holland v. Jackson, 542 U.S. 649, 652-53 (2004), the Court emphasized the
           importance of presenting "re levant portions of the state-court record" to properly
           adj udicate habeas claims;
        3. In Nasby v. Mc Daniel, 853 F.3d 1049, 1053 (9th Cir. 20 17), the Ninth C ircuit recognized
           a petitioner's right to present a complete record to support habeas c laims.

    CONTENTS OF LODGED USB FLASH DRIVE

    The USB flash drive contains the following files, all properly bookmarked and indexed fo r the
    Court's convenience:
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       I. Exhibit 1: Complete California Supreme Court Habeas Corpus Petition (filed April 2,
          2024)
       2. Exhibits A-Y: Supporting documentation referenced throughout the Petition, including:
             a. Exhibit A: Emails with San Diego District Attorney
             b. Exhibit B: Bryce Emert affidavit
             c. Exhibit C: Bryce Emert letters and emai ls
             d. Exhibit D: Bryce Emert transcripts
             e. Exhibit E: DAI Luis Pena call transcript with critical admissions
             f. Exhibit F: DDA Balerio's suppressed interview with Petitioner's son
             g. Exhibit G: Jose Badillo call transcript showing fa lse plea promises
             h. Exhibit H: Andrea Schuck call transcript confirming plea agreement
             1.  Exhibit I: Full FBf call transcript proving manufactured "threat"
             j. Exhibit J: Emails showing no malice
             k. Exhibit K: Email to DAI Pena regarding CPS interview
             I. Exhibit L: Email from DOJ forwarding complaint to FBI
             m. Exhibit M: Email offering DA to talk to Bryce anytime
              n. Exhibit N: Emai l to DAI Pena regarding homeschool information
             o. Exhibit 0: Email to DAI Pena regarding handling in family court
             p. Exhibit P: Lower Court documentation regarding peremptory challenge
             q. Exhibit Q: Public corruption complaint filed with various authorities
              r. Exhibit R: Rob Emert medical documents
             s. Exhibit S: DOJ email forwarding public corruption complaint to FB I
              t. Exhibit T: Commissioner Patti Ratekin transcripts regarding facil ity placement
             LI. Exhibit U: Additional Commissioner Patti Ratekin transcripts

              v. Exhibit V: Court transcripts
              w. Exhibit W: Emails regarding fac ility placement narrative
              x. Exhibit X: Amicable custody offer communications
              y. Exhibit Y: Fami ly Court Services reports recommending 50/50 custody

    CERTIFICATION

    I, Robert Emert, certify that the USB flash drive being lodged contains true and correct copies of
    the exhibits referenced above. All documents have been scanned for viruses and are free from
    malicious code. The exhibits are properly labeled, bookmarked, and indexed for the Court's
    convenience.

    I respectfully request that the Court accept these exhibits in this format given my prose status
    and the impracticality of submitting hundreds of pages of paper documentation. I am prepared to
    provide paper copies of any spec ific exhibits upon the Court's req uest.

   ~          ril7, 2025
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    Robert Emert 2351 Vista Lago Terrace Escondido, CA 92029 760-612-9328
    robemert@msn.com

    CERTIFICATE OF SERVICE

    I certify that on April 7, 2025, I served the foregoing NOT ICE OF LODGED EXHIBITS ON
    USB FLASH DRIVE and the accompanying USB flash drive on Respondent by U.S. Mail ,
    postage prepaid, addressed to:

    San Diego Probation Department 9440 Hazard Way San Diego, CA 92123

    Robert Emert

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